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 8
                          UNITED STATES DISTRICT COURT
 9
             CENTRAL DISTRICT OF CALIFORNIA - Western Division
10
     BOARDS OF TRUSTEES OF THE                        CASE NO.
11   NATIONAL AUTOMATIC SPRINKLER
     INDUSTRY WELFARE FUND, THE
12   NATIONAL AUTOMATIC SPRINKLER                     COMPLAINT
     INDUSTRY PENSION FUND, THE
13   SPRINKLER INDUSTRY SUPPLEMENTAL                    1. Breach of Contract;
     PENSION FUND, THE INTERNATIONAL
14   TRAINING FUND, THE NATIONAL                        2. Violation of ERISA;
     AUTOMATIC SPRINKLER INDUSTRY
15   METAL TRADES WELFARE FUND, THE                     3. Specific Performance; and
     NATIONAL FIRE SPRINKLER INDUSTRY
16   PROMOTION FUND, THE NATIONAL                       4. Breach of Settlement
     AUTOMATIC SPRINKLER INDUSTRY                       Agreement and Promissory
17   APPRENTICE AND TRAINING FUND, THE                  Note
     PIPING INDUSTRY PROGRESS LABOR-
18   MANAGEMENT COOPERATION                           [29 U.S.C. §§185, 1132, 1145]
     COMMITTEE, AND THE SPRINKLER
19   FITTERS LOCAL 709 VACATION FUND,
20                      Plaintiffs,
     v.
21
     R & F PLUMBING & FIRE PROTECTION,
22   INC., a California corporation, HAYK SUKAZI
23   aka MIKE SUKAZI, an individual, ALINA
     TOVMASYAN, an individual, ROBERT
24   DEHNOUSHI, an individual, STELLA
25   DEHNOUSHI, an individual, ALFRED
     SARKISIAN, an individual, and GAYANE
26   KHUDAVERDYAN, an individual,
27
                        Defendants.
28

                                       COMPLAINT
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 1   Plaintiffs allege as follows:
 2                                    JURISDICTION
 3         1.     Jurisdiction is conferred upon this court by the Employee Retirement
 4   Income Security Act of 1974, as amended (“ERISA”) [29 U.S.C. §§ 1001, et seq.]
 5   and by Section 301(a) of the Labor Management Relations Act of 1947 , as
 6   amended (LMRA) [29 U.S.C. §185(a)]. This court has subject matter jurisdiction
 7   over the action under ERISA §502 (e)(1) [29 U.S.C. [29 U.S.C. § 1132(e)] and
 8   under 28 U.S.C. §§1131 and §1367(a).
 9                                         VENUE
10         2.     In accordance with ERISA §502(e)(2) [29 U.S.C.§1132(e)(2)], venue
11   is appropriate in the Central District of California as the place where at least one
12   of the plans is administered, the breach took place and in which the Defendants
13   reside or may be found.
14                                        PARTIES
15         3.     Plaintiffs are the Boards of Trustees of the National Automatic
16   Sprinkler Industry Welfare Fund, National Automatic Sprinkler Industry Pension
17   Fund, Sprinkler Industry Supplemental Pension Fund, International Training Fund
18   and Metal Trades Welfare Fund (hereinafter "NASI Funds"), employee benefit
19   plans as that term is defined in Section 3(3) of the Employee Retirement Income
20   Security Act ("ERISA") of 1974, 29 U.S.C. § 1002(3). The NASI Funds are
21   established and maintained according to the provisions of the Restated
22   Agreements and Declarations of Trust establishing the NASI Funds (hereinafter
23   “NASI Trust Agreements”) and the Collective Bargaining Agreement between
24   Sprinkler Fitters Local Union No. 709 (hereinafter “the Union”) and the
25   Defendant R & F Plumbing & Fire Protection, Inc. (hereinafter “R & F”). The
26   NASI Funds are administered at 8000 Corporate Drive, Landover, Maryland
27   20785.
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                                           COMPLAINT
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 1         4.     Plaintiff is the Board of Trustees of the National Automatic Sprinkler
 2 Industry Apprentice and Training Fund (hereinafter "Apprentice Fund"), an
 3 employee benefit plan as that term is defined in Section 3(3) of the Employee
 4 Retirement Income Security Act ("ERISA") of 1974, 29 U.S.C. § 1002(3). The
 5 Apprentice Fund is established and maintained according to the provisions of the
 6 Restated Agreement and Declaration of Trust establishing the Apprentice Fund
 7 (hereinafter “Apprentice Trust Agreement”) and the Collective Bargaining
 8 Agreement between the Union and R & F. The Apprentice Fund is administered at
 9 PO Box 1259, Milford, Connecticut 06776.
10         5.     Plaintiff is the Board of Trustees of the National Automatic Sprinkler
11 Industry Promotion Fund (hereinafter "Industry Promotion Fund"), an employee
12 benefit plan as that term is defined in Section 3(3) of the Employee Retirement
13 Income Security Act ("ERISA") of 1974, 29 U.S.C. § 1002(3). The Industry
14 Promotion Fund is established and maintained according to the provisions of the
15 Agreement and Declaration of Trust establishing the Industry Promotion Fund
16 (hereinafter “Industry Promotion Trust Agreement”) and the Collective Bargaining
17 Agreement between the Union and R & F. The Industry Promotion Fund is
18 administered at 514 Progress Drive, Suite A, Linthicum Heights, Maryland 21090.
19         6.     Plaintiff is the Board of Trustees of the Piping Industry Progress and
20 Education Labor-Management Cooperation Committee (hereinafter “PIPE”), a
21 labor-management cooperation committee established under the authority of
22 Section 6(b) of the Labor-Management Cooperation Act of 1978, 29 U.S.C. §175
23 (a), and Section 302(c)(9) of the Taft-Hartley Act, 29 U.S.C. §186(c)(9). PIPE is
24 established and maintained according to the provisions of the Piping Industry
25 Progress and Education Labor-Management Cooperation Committee Trust
26 Agreement of the Plumbing and Piping Industry of Southern California (hereinafter
27 “PIPE Trust Agreement”) and the Collective Bargaining Agreement between the
28
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 1 Union and R&F. PIPE is administered at 501 Shatto Place, Suite 200, Los
 2 Angeles, CA 90020.
 3          7.     Plaintiff is the Board of Trustees of the Sprinkler Fitters Local 709
 4 Vacation Fund (hereinafter “Vacation Fund”), an employee benefit plan as that
 5 term is defined in Section 3(3) of the Employee Retirement Income Security Act
 6 ("ERISA") of 1974, 29 U.S.C. § 1002(3). The Vacation Fund is established and
 7 maintained according to the provisions of the Collective Bargaining Agreement
 8 between the Union and R & F. The Vacation Fund is administered at 12140 Rivera
 9 Road, Whittier, CA 90606.
10          8.     Plaintiff is informed and believes and thereon alleges that during all
11 times relevant herein, Defendant R & F is a corporation organized and existing under
12 and by virtue of the laws of the state of California, with its principal place of business
13 in the County of Los Angeles, within the jurisdiction of this District. Defendant R&F
14 transacts business in the State of California as a contractor or subcontractor in the
15 sprinkler industry and at all times herein was an "employer in an industry affecting
16 commerce" as defined in Sections 501(1), (3), 2(2) of the Labor-Management
17 Relations Act, 29 U.S.C. Sections 142(1), (3) and 152(2); Section 3(5), (9), (11),
18 (12), (14) of ERISA, 29 U.S.C. Sections 1002(5), (9), (11), (12), (14); and Section 3
19 of the Multi-Employer Pension Plan Amendments of 1980, 29 U.S.C. § 1001(a).
20          9.     Plaintiffs are informed and believe and thereon allege that during all
21 times relevant herein, Defendants Hayk Sukazi, also known as Mike Sukazi, Alina
22 Tovmasyan, Robert Dehnoushi, Stella Dehnoushi, Alfred Sarkisian, and Gayane
23 Khudaverdyan (collectively, “Individual Defendants”) are individuals who have and
24 continue to reside within the geographic jurisdiction of this District. Plaintiffs are
25 further informed and believe that each of the Individual Defendants has personally
26 guaranteed and is thereby responsible for the obligations of Defendant R & F to the
27 Plaintiffs asserted herein.
28
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 1          10.   This complaint is prosecuted pursuant to the LMRA § 301(a), 29
 2 U.S.C. §185(a), and pursuant to ERISA §§502 and 515, 29 U.S.C. §§1132 and
 3 1145, to enforce the provision of ERISA against an employer engaged in an
 4 industry affecting commerce.
 5          GENERAL ALLEGATIONS APPLICABLE TO ALL CLAIMS
 6          11.   Defendant R & F is signatory to a Collective Bargaining Agreement
 7   with the Union requiring contributions to the Plaintiff NASI Funds, the Apprentice
 8   Fund, the Industry Promotion Fund, PIPE, and the Vacation Fund for each hour of
 9   work by employees performing installation of automatic sprinkler systems.
10          12.   Defendant R & F is bound to the NASI Trust Agreements, the
11   Apprentice Trust Agreement, the Industry Promotion Trust Agreement, and the
12   Vacation Fund Trust Agreement (hereinafter “Trust Agreements”).
13          13.   Defendant R & F is bound to the Guidelines for Participation in the
14   NASI Funds (hereinafter “Guidelines”).
15          14.   Plaintiffs are informed and believe and upon that basis allege that
16   Defendant R & F employed certain employees covered by the Collective
17   Bargaining Agreement between the Union and R & F during the period of October
18   2015 through the present.
19                        NASI Trust Agreement and Guidelines
20          15.   Pursuant to the terms of the NASI Trust Agreements, when an
21 employer fails to file the properly completed report forms, in order to determine the
22 amounts due, the NASI Funds are authorized to project the delinquency amount
23 using the following formula:
24                . . . The Trustees may project as the amount of the delinquency
25                the greater of (a) the average of the monthly payments or reports
26                submitted by the Employer for the last three (3) months for which
27                payments or reports were submitted, or (b) the average of the
28                monthly payments or reports submitted by the Employer for the
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 1                 last twelve (12) months for which payments or reports were
 2                 submitted . . .
 3          16.    Pursuant to the NASI Trust Agreements and the Guidelines, an
 4 employer who fails to pay the amounts required by the Collective Bargaining
 5 Agreement on time shall be obligated to pay liquidated damages as follows:
 6                 (1)    If payment is not received in the Funds Office by the
 7                        15th of the month, 10% of the amount is assessed;
 8                 (2)    An additional 5% is added if payment is not received in
 9                        the Funds Office by the last working day of the month
10                        in which payment was due; and
11                 (3)    An additional 5% is added if payment is not received
12                        by the15th of the month following the month in which
13                        payment was due.
14          17.    Pursuant to the NASI Trust Agreements and the Guidelines, an
15 employer who fails to pay the amounts required by the Collective Bargaining
16 Agreement on time shall also be obligated to pay the NASI Funds’ attorneys’ fees,
17 costs and interest at the greater of 12% or the highest rate permitted by law.
18                               Apprentice Trust Agreement
19          18.    Pursuant to the Apprentice Trust Agreement, an employer who fails to
20 pay the amounts required by the Collective Bargaining Agreement on time shall be
21 obligated to pay liquidated damages as follows:
22                 (1)    10% of the amount due for the month if payment is not
23                        received by the due date;
24                 (2)    An additional 5% is added if payment is not received in
25                        the Fund Office by the 15th of the month immediately
26                        following the due date; and
27                 (3)    An additional 5% is added if payment is not received
28                        by the last working day of the month following the
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 1                       month immediately following the due date.
 2          19.   Pursuant to the Apprentice Trust Agreement, an employer who fails to
 3 pay the amounts required by the Collective Bargaining Agreement on time shall also
 4 be obligated to pay the Apprentice Fund’s attorneys’ fees, costs and interest at the
 5 greater of 12% or the highest rate permitted by law.
 6                         Industry Promotion Trust Agreement
 7          20.   Pursuant to the Industry Promotion Trust Agreement, in the event that a
 8 lawsuit is filed against a contributing employer, the employer shall be required to pay
 9 attorneys’ fees and other expenses of litigation, together with interest at the highest
10 rate permitted by the laws of the state where the legal or other proceeding is
11 instituted.
12                                 PIPE Trust Agreement
13          21.   The PIPE Trust Agreement provides for the assessment of liquidated
14 damages on all contributions owed to PIPE in the amount of $20.00 or 20% of the
15 amount due for the month if payment is not received on the 20th day following the
16 date it was due, whichever is higher.
17          22.   The PIPE Trust Agreement further provides for payment of attorneys’
18 fees, costs, and interest incurred in the collection of unpaid contributions owed to
19 PIPE. Pursuant to the Joint Collection Policy and Procedures for the Southern
20 California Pipe Trades, interest at the greater of 18% or the highest rate permitted by
21 law shall be assessed on all unpaid or delinquent contributions from due date until
22 paid.
23                                     Vacation Fund
24          23.   The Collective Bargaining Agreement further requires that any
25 employer who fails to pay the amounts required by the Labor Agreement on time to
26 the Vacation Fund shall be obligated to pay a penalty of Fifty Dollars ($50.00) per
27 member, per month on all delinquent contributions owed to the Vacation Fund.
28
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 1             24.   The Collective Bargaining Agreement further requires that any
 2 employer who fails to pay the Vacation Fund contribution amounts required by the
 3 Labor Agreement on time shall also be obligated to pay the attorneys’ fees and costs
 4 incurred by the Vacation Fund.
 5                               FIRST CLAIM FOR RELIEF
 6                                     Breach of Contract
 7             25.   Plaintiffs incorporate by reference the allegations of paragraphs 1
 8   through 24, inclusive, as though fully set forth herein.
 9             26.   Plaintiffs are informed and believe and upon that basis allege that
10   Defendant R & F has employed workers covered by the provisions of the
11   Collective Bargaining Agreement who performed work and labor undertaken by R
12   & F during the time the Collective Bargaining Agreement was in full force and
13   effect.
14             27.   Plaintiffs are informed and believe and upon that basis that Defendant
15   R & F has breached the Collective Bargaining Agreement, Trust Agreements and
16   NASI Guidelines by failing to submit monthly employer reports and contributions
17   when due, failing to pay contributions, failing to submit report forms, and
18   submitting employer reports without payment of the contributions for hours shown
19   due on the reports, as follows:
20             A.    Breach of Contract with Respect to Contributions Owed to the
21   Plaintiff NASI Funds: R & F has failed to make contributions due to the Plaintiff
22   NASI Funds on behalf of its employees for the months of October 2019 through
23   December 2019. In addition, R & F has failed to submit report forms for these
24   months. Pursuant to the terms of the Collective Bargaining Agreement, R & F is
25   obligated to submit report forms and pay contributions owed to the Plaintiff NASI
26   Funds.
27                   Using report forms submitted for the last three (3) months for which
28 reports were submitted, the projected delinquency to the Plaintiff NASI Funds for
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 1 the months of October through December 2019 is $45,678.28 calculated as
 2 follows:
 3      Month             Welfare       Pension         SIS         ITF       MT Welfare
 4
        July 2019         $3,516.96     $1,372.80       $2,816.00   $20.80     $1,550.40
 5
        Aug. 2019         $6,569.67     $3,016.20       $4,816.30   $49.70     $1,931.90
 6
 7      Sept. 2019        $8,125.42     $4,012.80       $5,637.28   $72.00     $2,170.05
 8     Average
 9     Monthly            $2,800.60     $6,070.68       $4,423.19   $47.50     $1,884.12
10     Contributions:
11                Defendant R & F’s contributions owed to the Plaintiff NASI Funds on
12   behalf of its sprinkler fitter employees for the months of August and September
13   2019 were paid late and its contributions owed on behalf of its sprinkler fitter
14   employees for the months of October through December 2019 are late.
15                The Defendant R & F is obligated to the Plaintiff NASI Funds in the
16   amount of $14,893.31 in liquidated damages assessed on late contributions for the
17   months of August 2019 through December 2019, plus interest from the date of
18   delinquency through the date of payment assessed at the rate of 12% or the highest
19   rate provided by law, costs and attorneys’ fees pursuant to the NASI Trust
20   Agreements, Guidelines, and as provided for in 29 U.S.C. Section 1132(g).
21                Accordingly, Defendant R & F is liable to the NASI Funds for unpaid
22   contributions in the amount of $45,678.28 and liquidated damages in the amount of
23   $14,893.31, plus costs, interest and attorneys’ fees.
24         B.     Breach of Contract with Respect to Contributions Owed to Plaintiff
25   Apprentice Fund: Defendant R & F has failed to make contributions due to the
26   Plaintiff Apprentice Fund on behalf of its employees for the month of September
27   2019. Pursuant to the remittance report submitted by the Defendant R & F to the
28   Plaintiff Apprentice Fund, the Apprentice Fund has calculated that R & F owes
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 1   contributions in the amount of $1,080.00 for the month of September 2019.
 2   Pursuant to the terms of the Collective Bargaining Agreement, R & F is obligated
 3   to submit report forms and pay contributions owed to the Plaintiff Apprentice
 4   Fund.
 5                 Defendant R & F has failed to make contributions due to the Plaintiff
 6   Apprentice Fund on behalf of its employees for the months of October 2019 and
 7   November 2019. Pursuant to information gathered by the Fund Administrator, it
 8   has been estimated that R & F owes contributions to Plaintiff Apprentice Fund in
 9   the amount of $1,401.50 for these months. Pursuant to the terms of the Collective
10   Bargaining Agreement, R & F is obligated to submit report forms and pay
11   contributions owed to the Plaintiff Apprentice Fund.
12                 Defendant R & F’s contributions owed to the Plaintiff Apprentice Fund
13 on behalf of its sprinkler fitter employees for the month of August 2019 was paid late
14 and R & F’s contributions owed on behalf of its sprinkler fitter employees for the
15 months of September through November 2019 are late.
16                 The Defendant R & F is obligated to the Plaintiff Apprentice Fund in
17 the amount of $605.39 in liquidated damages assessed on late contributions for the
18 months of August 2019 through November 2019, plus interest from the date of
19 delinquency through the date of payment assessed at the rate of 12% or the highest
20 rate provided by law, costs and attorneys’ fees pursuant to the Apprentice Trust
21 Agreement and as provided for in 29 U.S.C. Section 1132(g).
22                 Accordingly, Defendant R & F is liable to the Apprentice Fund for
23 contributions in the amount of $2,481.50 and liquidated damages in the amount of
24 $605.39, plus costs, interest and attorneys’ fees.
25           C.    Breach of Contract with Respect to Contributions Owed to Plaintiff
26 Industry Promotion Fund. Defendant R & F has failed to make contributions due to
27 the Plaintiff Industry Promotion Fund on behalf of its employees for the months of
28 October through December 2019. Pursuant to information gathered by the Fund
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 1 Administrator, it has been estimated that R & F owes contributions to Plaintiff
 2 Industry Promotion Fund in the amount of $142.50 for the months of October 2019
 3 through December 2019. Pursuant to the terms of the Collective Bargaining
 4 Agreement, R & F is obligated to submit report forms and pay contributions owed
 5 to the Plaintiff Industry Promotion Fund.
 6                 Accordingly, Defendant R & F is liable to the Industry Promotion Fund
 7 for contributions in the amount of $142.50, plus costs, interest and attorneys’ fees.
 8          D.     Breach of Contract with Respect to Contributions Owed to Plaintiff
 9 PIPE. Defendant R & F has failed to make contributions due to the Plaintiff PIPE
10 on behalf of its employees for the month of September 2019. Pursuant to the
11 remittance report submitted by the Defendant R & F to the Plaintiff PIPE,
12 Defendant R & F owes contributions in the amount of $249.30 for the month of
13 September 2019. Pursuant to information gathered by the Fund Administrator, it
14 has been estimated that R & F owes contributions to Plaintiff PIPE in the amount
15 of $594.70 for the months of October 2019 through December 2019. Pursuant to
16 the terms of the Collective Bargaining Agreement, R & F is obligated to submit
17 report forms and pay contributions owed to the Plaintiff PIPE.
18                 The Defendant R & F is obligated to the Plaintiff PIPE in the amount
19 of $168.80 in liquidated damages assessed on late contributions for the months of
20 August 2019 through December 2019, plus interest from the date of delinquency
21 through the date of payment, costs and attorneys’ fees pursuant to the PIPE Trust
22 Agreement.
23                 Accordingly, Defendant R & F is liable to PIPE for contributions in the
24 amount of $844.00 and liquidated damages in the amount of $168.80, plus interest,
25 costs and attorneys’ fees.
26          E.     Breach of Contract with Respect to Contributions Owed to Plaintiff
27 Vacation Fund. Defendant R & F has failed to make contributions due to the
28 Plaintiff Vacation Fund on behalf of its employees for the months of August 2019
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 1 and September 2019. Pursuant to the remittance report submitted by the Defendant
 2 R & F to the Plaintiff NASI Funds, the Vacation Fund has calculated that R & F
 3 owes contributions in the amount of $3,917.55 for the month of August 2019.
 4 Pursuant to the remittance report submitted by the Defendant R & F to the
 5 Vacation Fund, the Vacation Fund has calculated that R & F owes contributions in
 6 the amount of $4,475.13 for the month of September 2019. Pursuant to
 7 information gathered by the Fund Administrator, it has been estimated that R & F
 8 owes contributions to Plaintiff Vacation Fund in the amount of $10,655.08 for the
 9 months of October 2019 through December 2019. Pursuant to the terms of the
10 Collective Bargaining Agreement, R & F is obligated to submit report forms and
11 pay contributions owed to the Plaintiff Vacation Fund.
12                 Accordingly, Defendant R & F is liable to the Vacation Fund for
13 contributions in the amount of $19,047.76 plus penalties, costs, and attorneys’ fees.
14          28.    Despite demands from the Funds, Defendant R & F has failed to
15   submit missing report forms and pay the amounts due, including any interest owed
16   on delinquent contributions pursuant to the Trust Agreements.
17          29.    As a direct result of R & F’s contractual violations, the Funds have
18   suffered and continue to suffer damages for unpaid contributions, liquidated
19   damages, penalties, interest, attorneys’ fees and costs. The full extent of damages
20   is not fully known as of the date of the filing of this Complaint and will be
21   established in accordance with proof.
22          30.    By failing to pay the delinquencies owed to the Funds, R & F has
23   violated and continues to violate the Collective Bargaining Agreement, Trust
24   Agreements, and NASI Guidelines.
25          31.    Plaintiffs have complied with all conditions precedent, if any, to be
26   performed under the terms of the Trust Agreements and NASI Guidelines and
27   have fully performed their obligations under the Collective Bargaining
28   Agreement.
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 1         32.    As a result of R & F’s failure to properly submit and pay
 2   contributions owed, it has been necessary for the Trust Funds to employ the law
 3   firm of Wohlner Kaplon Cutler Halford & Rosenfeld to bring this action.
 4         33.    Pursuant to the Trust Agreements, NASI Guidelines, and Collective
 5   Bargaining Agreement, the Funds are entitled to the unpaid contributions, interest
 6   on the unpaid contributions, liquidated damages, penalties and reasonable
 7   attorneys’ fees, costs of this action, and any other such legal or equitable relief as
 8   the Court deems appropriate.
 9                            SECOND CLAIM FOR RELIEF
10                                   Violation of ERISA
11         34.    Plaintiffs incorporate by reference the allegations of paragraphs 1
12   through 33, inclusive, as though fully set forth herein.
13         35.    By failing to accurately report and pay contributions to the NASI
14   Funds, Apprentice Fund, Industry Promotion Fund, and Vacation Fund in
15   accordance with the NASI Trust Agreement, Apprentice Fund Trust Agreement,
16   Industry Promotion Fund Trust Agreement, NASI Guidelines and Collective
17   Bargaining Agreement, Defendant R & F has violated Section 515 of ERISA [29
18   U.S.C. § 1145]. In accordance with the terms of the NASI Trust Agreement,
19   Apprentice Fund Trust Agreement, Industry Promotion Fund Trust Agreement,
20   NASI Guidelines and Collective Bargaining Agreement, and pursuant to Sections
21   502(g)(2) and 515 of ERISA [29 U.S.C. §§1132(g)(2) and 1145], the NASI Funds,
22   Apprentice Fund, Industry Promotion Fund, and Vacation Fund are entitled to
23   payment of all contributions determined to be due, as well as liquidated damages,
24   penalties, interest, attorneys’ fees, costs incurred in enforcing the terms of the
25   NASI Trust Agreement, Apprentice Fund Trust Agreement, Industry Promotion
26   Fund Trust Agreement, NASI Guidelines, and Collective Bargaining Agreement,
27   and such other legal and equitable relief as the Court deems appropriate.
28
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 1                            THIRD CLAIM FOR RELIEF
 2                                 Specific Performance
 3         36.    Plaintiffs reallege and incorporate herein by reference each and every
 4   allegation contained in paragraphs 1 through 35 as if fully set forth herein, and
 5   allege a Third Claim for Relief against R & F for Specific Performance for
 6   Missing Trust Fund Reports as follows.
 7         37.    The Collective Bargaining Agreement, Trust Agreements, and NASI
 8   Guidelines require the employer to promptly file written trust fund reports and to
 9   fully report and make contributions to the Funds for each hour of covered work at
10   the rates specified in the Collective Bargaining Agreement for all of R & F’s
11   employees performing work covered under the terms of the Collective Bargaining
12   Agreement.
13         38.    R & F has failed to submit reports and contributions to the Funds for
14   the work months of October 2019 through December 2019.
15         39.    Plaintiffs have no adequate or speedy remedy at law, as Plaintiffs are
16   unable to calculate the amount owing.
17         40.    In accordance with the terms of the Collective Bargaining
18   Agreement, Trust Agreements, and NASI Guidelines and pursuant to Sections
19   502(g)(2)(E) and 515 of ERISA [29 U.S.C. §§1132(g)(2)(E) and 1145], Plaintiffs
20   are entitled to and hereby demand that Defendant R & F submit employer reports
21   to the Funds for the period of October 2019 to date, and pay all contributions,
22   liquidated damages and interest due as shown on the employer reports.
23                           FOURTH CLAIM FOR RELIEF
24                Breach of Settlement Agreement and Promissory Note
25         41.    Plaintiffs reallege and incorporate herein by reference each and every
26   allegation contained in paragraphs 1 through 40 as if fully set forth herein, and
27   allege a Fourth Claim for Relief against R & F and Individual Defendants for
28   breach of settlement agreement and promissory note.
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 1          42.    The Defendant R & F experienced substantial difficulty in making
 2   the required benefit contributions owed to the Plaintiff Funds during the period of
 3   October 2015 through July 2019. In response to these difficulties, on or about
 4   August 19, 2019, the Plaintiff Funds and the Defendant R & F entered into a
 5   Settlement Agreement and Promissory Note (hereinafter "settlement documents"),
 6   allowing for a systematic payment over time of all amounts owed to the Funds.
 7   These settlement documents required, inter alia, the payment of the principal
 8   amount of $215,333.99 by said Defendant to the Funds in monthly installment
 9   payments over a period of thirty-six months. The settlement documents further
10   provided that the Defendant R & F remain current in all future contributions to the
11   Funds for the duration of the settlement and file all monthly report forms and
12   payments on time as required by the Funds' Trust Agreements. Liquidated
13   damages in the amount of $84,067.00 were waived contingent upon the Defendant
14   R & F making each and every one of the scheduled payments as they became due
15   under this Agreement and contingent upon the Defendant remaining current in its
16   monthly contributions to the Plaintiff Funds for the duration of the settlement.
17          43.    Plaintiffs are informed and believe and upon that basis allege that
18 Individual Defendants Hayk Sukazi a/k/a Mike Sukazi, Alina Tovmasyan, Robert
19 Dehnoushi, Stella Dehnoushi, Alfred Sarkisian and Gayane Khudaverdyan personally
20 executed these settlement documents pursuant to which they committed themselves
21 to act as personal guarantor for all amounts owed by the Defendant R&F to the Funds
22 inclusive of future monthly contributions owed to the Funds for the duration of the
23 settlement.
24          44.    The Defendant R & F has defaulted on the terms of the settlement
25 documents by failing to remain current in its contributions to the Plaintiff Funds as
26 set forth herein and on the chart attached hereto as Exhibit A. Pursuant to the terms
27 of the settlement documents, Defendant R&F is in default and the amount of
28 $277,640.41 for contributions and reinstated liquidated damages currently owed
                                               -15-
                                            COMPLAINT
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 1 under the terms of the settlement documents is immediately due and payable to the
 2 Plaintiff Funds.
 3          45.    Pursuant to the terms of the settlement documents, the Individual
 4 Defendants are jointly and severally liable for all amounts owed by the Defendant R
 5 & F to the Plaintiff Funds. Accordingly, the Individual Defendants are jointly and
 6 personally liable for the amount of $277,640.41 for contributions and reinstated
 7 liquidated damages currently owed under the terms of the settlement documents.
 8          46.    Pursuant to the terms of the settlement documents, the Individual
 9 Defendants are jointly and severally liable for all outstanding contributions, interest,
10 liquidated damages, penalties, attorneys fees, and costs resulting from the breach of
11 the settlement agreement, including R & F’s failure to remain current in all future
12 contributions to the Funds and failure to timely file all monthly report forms during
13 the repayment period. Accordingly, the Individual Defendants are jointly and
14 personally liable for the total amount of $68,194.04 in unpaid contributions,
15 $15,667.50 in liquidated damages, interest, penalties, attorneys’ fees, and costs
16 currently owed, and for payment of all additional contributions, liquidated damages,
17 penalties and interest due and owing pursuant to the reports for the period of
18 October 2019 to date, under the terms of the settlement documents.
19          WHEREFORE, Plaintiffs, BOARDS OF TRUSTEES OF THE
20   NATIONAL AUTOMATIC SPRINKLER INDUSTRY WELFARE FUND, THE
21   NATIONAL AUTOMATIC SPRINKLER INDUSTRY PENSION FUND, THE
22   SPRINKLER INDUSTRY SUPPLEMENTAL PENSION FUND, THE
23   INTERNATIONAL TRAINING FUND, THE NATIONAL AUTOMATIC
24   SPRINKLER INDUSTRY METAL TRADES WELFARE FUND, THE
25   NATIONAL FIRE SPRINKLER INDUSTRY PROMOTION FUND, THE
26   NATIONAL AUTOMATIC SPRINKLER INDUSTRY APPRENTICE AND
27   TRAINING FUND, THE PIPING INDUSTRY PROGRESS LABOR-
28   MANAGEMENT COOPERATION COMMITTEE, AND THE SPRINKLER
                                               -16-
                                            COMPLAINT
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 1   FITTERS LOCAL 709 VACATION FUND, pray for Judgment against
 2   Defendants R & F PLUMBING & FIRE PROTECTION, INC., a California
 3   corporation, HAYK SUKAZI aka MIKE SUKAZI, an individual, ALINA
 4   TOVMASYAN, an individual, ROBERT DEHNOUSHI, an individual, STELLA
 5   DEHNOUSHI, an individual, ALFRED SARKISIAN, an individual, and
 6   GAYANE KHUDAVERDYAN, an individual, as follows:
 7              ON THE FIRST AND SECOND CLAIMSFOR RELIEF
 8                AS TO DEFENDANTS R & F PLUMBING & FIRE
 9              PROTECTION, INC., A CALIFORNIA CORPORATION
10         1.     For unpaid contributions for the months of August 2019 through
11   December 2019 in the total amount of $68,194.04;
12         2.     For liquidated damages in the total amount of $15,667.50 assessed on
13   all unpaid and late paid contributions as alleged herein;
14         3.     For penalties on all unpaid contributions owed to the Vacation Fund
15   as alleged herein, in a sum according to proof;
16         4.     For prejudgment interest on unpaid contributions owed to NASI
17   Funds, Apprentice Fund, Industry Promotion Fund, and PIPE from the dates
18   contributions became due until paid, in a sum according to proof;
19         5.     For further contributions in a sum according to proof;
20                       ON THE THIRD CLAIM FOR RELIEF
21                AS TO DEFENDANTS R & F PLUMBING & FIRE
22              PROTECTION, INC., A CALIFORNIA CORPORATION
23         6.     For an order compelling Defendant R & F to submit employer reports
24   to the Trust Funds for the period of October 2019 to date, and pay all
25   contributions, liquidated damages and interest due as shown on the employer
26   reports;
27         7.     For payment of all additional contributions, liquidated damages and
28   interest due and owing pursuant to the reports for the period of October 2019 to
                                             -17-
                                          COMPLAINT
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 1   date;
 2                        ON THE FOURTH CLAIM FOR RELIEF
 3                   AS TO DEFENDANTS R & F PLUMBING & FIRE
 4                 PROTECTION, INC., A CALIFORNIA CORPORATION,
 5                 HAYK SUKAZI AKA MIKE SUKAZI, AN INDIVIDUAL
 6                  ALINA TOVMASYAN, AN INDIVIDUAL, ROBERT
 7                DEHNOUSHI, AN INDIVIDUAL, STELLA DEHNOUSHI,
 8        AN INDIVIDUAL, ALFRED SARKISIAN, AN INDIVIDUAL, AND
 9                    GAYANE KHUDAVERDYAN, AN INDIVIDUAL
10           8.      For payment of $277,630.41 as currently owed under the terms of the
11   settlement documents;
12           9.      For unpaid contributions for the months of August 2019 through
13   December 2019 in the total amount of $68,194.04;
14           10.     For liquidated damages in the total amount of $15,667.50 assessed on
15   all unpaid and late paid contributions as alleged herein;
16           11.     For penalties on all unpaid contributions to the Vacation Fund as
17   alleged herein, in a sum according to proof;
18           12.     For prejudgment interest on unpaid contributions owed to NASI
19   Funds, Apprentice Fund, Industry Promotion Fund, and PIPE from the dates
20   contributions became due until paid, in a sum according to proof;
21           13.     For further contributions in a sum according to proof;
22           14.     For an order compelling Defendant R & F to submit employer reports
23   to the Trust Funds for the period of October 2019 to date, and pay all
24   contributions, liquidated damages and interest due as shown on the employer
25   reports.
26           15.     For payment of all additional contributions, liquidated damages and
27   interest due and owing pursuant to the reports for the period of October 2019 to
28   date;
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                                             COMPLAINT
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 1                         ON ALL CLAIMS FOR RELIEF
 2         16.   For reasonable attorneys’ fees;
 3         17.   For costs of suit incurred herein; and
 4         18.   For such other and further relief as the Court deems appropriate.
 5   DATED:      February 11, 2020          Jeffrey L. Cutler
                                            Elizabeth Rosenfeld
 6                                          Marie J. Skinner
                                            WOHLNER KAPLON CUTLER
 7                                          HALFORD & ROSENFELD
 8
                                     By:    /s/ Marie J. Skinner_________________
 9                                          Marie J. Skinner
                                            Attorneys for Plaintiffs BOARDS OF
10                                          TRUSTEES OF THE NATIONAL
                                            AUTOMATIC SPRINKLER INDUSTRY
11                                          WELFARE FUND, THE NATIONAL
                                            AUTOMATIC SPRINKLER INDUSTRY
12                                          PENSION FUND, THE SPRINKLER
                                            INDUSTRY SUPPLEMENTAL PENSION
13                                          FUND, THE INTERNATIONAL
                                            TRAINING FUND, THE NATIONAL
14                                          AUTOMATIC SPRINKLER INDUSTRY
                                            METAL TRADES WELFARE FUND,
15                                          THE NATIONAL FIRE SPRINKLER
                                            INDUSTRY PROMOTION FUND, THE
16                                          NATIONAL AUTOMATIC SPRINKLER
                                            INDUSTRY APPRENTICE AND
17                                          TRAINING FUND, THE PIPING
                                            INDUSTRY PROGRESS LABOR-
18                                          MANAGEMENT COOPERATION
                                            COMMITTEE, AND THE SPRINKLER
19                                          FITTERS LOCAL 709 VACATION FUND
20
21
22
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24
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26
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28
                                             -19-
                                           COMPLAINT
